Case 2:04-cv-02835-.]DB-dkv Document 75 Filed 06/06/05 Page 1 of 3 Page|D 68

FILED :’3"1’ _._.__ D.¢'J.

UNITED STA TES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 JUM -6 H |l= 02

 

 

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W.!i.‘. F"»’~` ";."N ME .'.453‘14!3
BRENDA SHOEMAKE, individually and as JUDGMEN'I` IN A CIVIL CASE

next of kin of LECRETIA E. DOAK, an
incapacitated person,

Plainciff,
V.

KINDRED NURSING CENTERS LIMITED CASE NO: 04-2335-B
PARTNERSHIP d/b/a CORDOVA
REHABILITATION AND NURSING CENTER, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
Considered and a decision has been rendered

IT IS SO ORDERED AND AD.IUDGED that in accordance with the Order Remanding Case
To State Court entered on .]une 2, 2005, this cause is hereby dismissed.

EGBERT R. D| TRCLIO
Clerk of Court

 

 

This document entered on it e docket sheet ln compiiar‘lce
with Ru|e 58 and/or 79(a) FHCP on

 

 

F TNNEESSEE

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